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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

v. : Case No. 21-cr-26 (CRC)
CHRISTOPHER MICHAEL ALBERTS,
Defendant.
VERDICT FORM
Count One: Civil Disorder
Guilty Not Guilty

Count Two: Assaulting, Resisting, or Impeding Certain Officers

v

Guilty Not Guilty

Count Three: Entering or Remaining in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon or Firearm

Vv

Guilty Not Guilty

If you have marked Guilty as to Count Three above, proceed to Count Four. If not, you
must consider the lesser included offense:

Entering or Remaining in a Restricted Building or Grounds

Not Guilty

 
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Count Four: Disorderly or Disruptive Conduct in a Restricted Building or Grounds with a
Deadly or Dangerous Weapon or Firearm
Guilty Not Guilty

If you have marked Guilty as to Count Four above, proceed to Count Five. If not, you
must consider the lesser included offense:

Disorderly or Disruptive Conduct in a Restricted Building or Grounds

Guilty Not Guilty
Count Five: y in Physical Violence in a Restricted Building or Grounds
Guilty Not Guilty

Count Six: Unlawful Possession of a Firearm on Capitol Grounds or Buildings

Guilty Not Guilty

Count Seven: Disorderly Conduct in a Capitol Building or Grounds

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Guilty Not Guilty
Count Eight: Act of Physical Violence in the Capitol Grounds or Building

Guilty Not Guilty

Count Nine: Carrying a Pistol Without a License Outside Home or Place of Business

if

Guilty Not Guilty
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Dated this (F “day of April, 2023

 

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